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              UNITED STATES DISTRICT COURT
                  DISTRICT OF MINNESOTA
              Criminal No. 12- 295 (1)(PAM IAJB)




                                    MOTION FOR EXTENSION OF TIME
                                    TO FILE PRETRIAL MOTIONS AND
                                    PRETRIAL SCHEDULE




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